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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION




In re Navistar MaxxForce Engines               Master Case No. 1:14-cv-10318
Marketing, Sales Practices and Products
Liability Litigation                        This filing applies to: All Class Cases

                                                  Judge Joan B. Gottschall




   OBJECTION OF FOUR FLEET CLASS MEMBERS TO FINAL APPROVAL OF
               PROPOSED CLASS ACTION SETTLEMENT
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I.       Introduction

         Class members Ferguson Enterprises, LLC, Southern California Edison Co., The Walt

Disney Company, and US Foods, Inc. (collectively “Objectors”) hereby object to the proposed

Settlement Agreement as inadequate and unfair for failing to compensate class members for any

lost truck value – the single largest category of damages incurred by class members as a result of

defective truck engines manufactured and sold by Defendant Navistar, Inc. (collectively, with

Co-Defendant Navistar International Corporation, “Navistar”).1

         Although Plaintiffs’ Complaint emphasized Class Vehicles’ “significant diminished value

on the resale market” as a critical component of damages, any options for recouping lost resale

value have been inexplicably omitted from the compensation options under the proposed

settlement. Further, the three compensation options that are included in the settlement

significantly undercut the value of potential claims and discriminate against fleet owners and

indirect lessees in favor of the more adequately represented individual truck owners.

         As a fiduciary of the class, the Court must scrutinize the adequacy, reasonableness, and

fairness of the proposed settlement, and do so with even greater scrutiny in the absence of class

certification. Given the lack of compensation for lost resale value, combined with the inadequate

and inequitable remaining compensation options, Objectors urge the Court to protect the interests

of all class members by instructing the parties to include lost resale value as a Covered Cost.

This proposed modification will fairly and adequately compensate the entire class. Without this

change, the proposed settlement requires class members to waive their most significant claims


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         Attached as exhibits hereto are the following materials required by Pretrial Order No. 29: Exhibit 1
(Objectors’ contact information); Exhibit 2 (Objectors’ identification of Class Vehicles); Exhibits 3a-d (Objectors’
Affidavits attesting to membership in the class and authority to act on each company’s behalf); and Exhibit 4
(Objectors’ statement of intent to appear at Fairness Hearing).
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for Class Vehicles and is thus unfair and should not be approved.



II.    The Court’s Scrutiny of the Fairness, Reasonableness, and Adequacy of the
       Proposed Settlement Must be Even Greater in the Absence of Class Certification

       FED.R.CIV.P. 23(e) has been interpreted to require courts to “independently and

objectively analyze the evidence and circumstances before it in order to determine whether the

settlement is in the best interest of those whose claims will be extinguished.” 2 NEWBERG &

CONTE § 11.41, at 11–88 to 11–89. “Under Rule 23(e) the district court acts as a fiduciary who

must serve as a guardian of the rights of absent class members . . .. [T]he court cannot accept a

settlement that the proponents have not shown to be fair, reasonable and adequate.” Grunin v.

International House of Pancakes, 513 F.2d 114, 123 (8th Cir.), cert. denied, 423 U.S. 864, 96

S.Ct. 124, 46 L.Ed.2d 93 (1975); Malchman v. Davis, 706 F.2d 426, 433 (2d Cir.1983); Sala v.

National RR Passenger Corp., 721 F.Supp. 80 (E.D.Pa.1989); see also Piambino v. Bailey, 610

F.2d 1306 (5th Cir.), cert. denied, 449 U.S. 1011, 101 S.Ct. 568, 66 L.Ed.2d 469 (1980).

       Indeed, the Court must “exercise the highest degree of vigilance in scrutinizing proposed

settlements of class actions.” Reynolds v. Beneficial Nat. Bank, 288 F.3d 277, 279 (7th Cir.

2002) (“We and other courts have gone so far as to term the district judge in the settlement phase

of a class action suit a fiduciary of the class, who is subject therefore to the high duty of care that

the law requires of fiduciaries.”).

       Where, as here, a class has not yet been certified, the Court’s already heightened standard

must climb even higher, necessitating “a more careful scrutiny of the fairness of the settlement.”

Mars Steel Corp. v. Cont’l Illinois Nat. Bank & Tr. Co. of Chicago, 834 F.2d 677, 681-82 (7th

Cir. 1987) (citing Simer v. Rios, 661 F.2d 655, 664–66 (7th Cir.1981)), accord In re Bluetooth

Headset Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (“Prior to formal class


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certification, there is an even greater potential for a breach of fiduciary duty owed the class

during settlement.”); see Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998),

overruled on other grounds by Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011) (“Several

circuits have held that settlement approval that takes place prior to formal class certification

requires a higher standard of fairness. . . . No circuit has held to the contrary.”); see Reynolds v.

Beneficial Nat. Bank, 288 F.3d 277, 279 (7th Cir. 2002) (when reviewing settlements proposed

prior to class certification, courts must “exercise the highest degree of vigilance in scrutinizing

proposed settlements of class actions.”).

       A settlement that releases the claims of class members for lack of value exchanged is

inherently unreasonable, unfair and inadequate. See Reynolds v. Beneficial Natl. Bank, 288 F.3d

277, 282-284 (7th Cir. 2002). Thus, trial courts must be “assured that the settlement represents

adequate compensation for the release of the class claims.” Sullivan v. DV Invs., Inc., 667 F.3d

273, 319 (3d Cir. 2010), cert. denied sub nom., Murray v. Sullivan, 132 S. Ct. 1876 (2012).


III.   The Proposed Settlement is Fundamentally Unreasonable and Inadequate as it Requires
       a Sweeping Release of Claims Against Navistar Yet Fails to Provide Any Compensation
       to Class Members for Lost Resale Value Damages

       As proposed, the settlement would significantly disadvantage all class members who

suffered their most severe losses in the diminished market value of Subject Vehicles.

       When “major causes of action or types of relief sought in the complaint have been

omitted by the settlement,” courts will reject a settlement for lack of fairness. See In re Gen.

Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig., 55 F.3d 768, 806 (3d Cir. 1995)

(citing Manual for Complex Lit. § 30.42 (3d ed. 1995)), see also Parker v. Time Warner Entm't

Co., L.P., 239 F.R.D. 318, 336 (E.D.N.Y. 2007); Ann. Manual Complex Lit. § 21.62 (4th ed.

2019). A settlement provides fair relief if it is “specifically tailored to remedy the harms

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identified in the compliant.” In re Prudential Ins. Co. of Am. Sales Practices Litig., 962 F. Supp.

450, 542 (D.N.J. 1997), aff'd sub nom. In re Prudential Ins. Co. Am. Sales Practice Litig. Agent

Actions, 148 F.3d 283 (3d Cir. 1998).


       A.      Although Class Counsel and Plaintiffs Repeatedly Emphasize the Lost Resale
               Value of Class Vehicles and the Resulting Damages, None of the Proposed
               Compensation Options Includes Lost Resale Value

       During the course of the Class proceedings, Class Counsel repeatedly emphasized lost

resale value as a critical component of damages, and yet in the settlement the parties did nothing

to address this major category of damages. The Class Complaint alleges, for instance, that “the

Trucks equipped with these Engines…have a significantly diminished value on the resale market

compared with competitors’ trucks with similar mileage and are very difficult to sell.” 3rd Am.

Compl., at ¶ 430, May 30, 2019 (ECF 637). In fact, each Named Plaintiff alleges that it suffered

damages “because a defective Truck cannot be sold for the same price as a comparable non-

defective truck.” Id. at¶ ¶ 21(b), 47(b) 57(b), 66(b), 76(b), 87(b), 97(b), 105(b), 118(b), 128(b),

138(b), 148(b), 157(b), 167(b), 181(b), 191(b), 201(b), 220(b), 230(b), 240(b), 249(b), 259(b),

269(b), 278(b), 288(b), 302(b), 312(b), 324(b), 337(b), 347(b).

       Indeed, Plaintiffs allege that Navistar “continued to sell the Engines and omitted to

disclose to buyers that resale market demand for vehicles equipped with those Engines would be

weak.” Id. at ¶ 428. Plaintiffs further lament that they are “stuck” with a “greatly diminished

market for resale or trade-in of the used Trucks.” Id. at ¶ 430. And yet, the proposed Settlement

contains no option for class members to recoup any lost resale value, even as a compromised

form or amount of damages.

       In the settlement filings themselves, Class Counsel again emphasized the importance of

lost value damages. Plaintiffs’ own expert, Dr. Rossi, estimates the lost resale value “due to the


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reduction in market value for the class trucks caused by the alleged engine defects” at $9,354 per

truck. Tangren Declaration at 7, June, 5 2019 (ECF 641-8). For Objectors, who together have

over 280 Class Vehicles for which they bear the loss at resale, lost value damages alone – based

on Plaintiffs’ own expert estimate – exceed $2.6 million. Actual lost value damages may be

significantly higher.

       Objectors retained Richard Lolmaugh, a certified equipment appraiser, to assist the Court

with an estimate of the lost resale value for Class Vehicles. Based on his expert appraisal of 430

Class Vehicles, from nine separate fleets, in multiple states, and across a two year timeframe,

Mr. Lolmaugh estimates that the lost resale value of Class Vehicles averaged $34,473 per truck.

(Lolmaugh Affidavit at Exhibit 5) In other words, but for accelerated depreciation due to market

awareness of the defective engines, Class Vehicles would have sold for an average of $34,473

more per truck. These are not insignificant damages that can fairly or reasonably be excluded in

their entirety from a fair settlement.

       Objectors also retained Ned Barnes, Managing Director with the Berkeley Research

Group (“BRG”), a financial and economics consulting firm, with more than 25 years of

experience as a forensic accountant, to examine the lost resale value of Class Vehicles in the

marketplace. Mr. Barnes’ analysis relied on the J.D. Power Valuation Services, formerly the

National Automobile Dealers Association (“NADA”) Used Car Guide, valuation database, which

contains vehicle values collected from actual used vehicle transactions and dealership data

nationwide. (Barnes Affidavit at Exhibit 6) Using this database, Mr. Barnes collected NADA

resale values for a sample of 692 Class Vehicles and a comparator sample of 694 model-year

2011-2014 similarly sized, Class 8 vehicles equipped with engines manufactured by other

manufacturers. Id. Based on actual used vehicle values reported by the NADA, Mr. Barnes



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estimates that the incremental decline in value of Class Vehicles as compared to similarly sized

trucks without an Advanced EGR engine is approximately $23,878 per truck without adjusting

for mileage, and $26,616 per truck with mileage adjustment. Id.

       Furthermore, lost resale value is not just incurred by Class Vehicle purchasers/owners.

Those class members who leased Class Vehicles under TRAC (Terminal Rental Adjustment

Clause) leases – widely used in the commercial truck industry – bear any shortfall in the amount

realized by the lessor upon resale. Unlike FMV (Fair Market Value) leases in which the lessor

absorbs decreased value in the resale of vehicles at the end of the lease term, TRAC lessees must

cover any shortfall at resale between the projected value at the outset of the lease and the actual

value at the end. In other words, TRAC lessees incur the same lost resale value damages for

Class Vehicles as do owners.

       While Class Counsel maintains that “the value available to Class Members through this

Settlement compares favorably to how Plaintiffs’ damages experts valued these claims,” that

favorable comparison is in name only. Memorandum In Support Of Plaintiffs' Motion For An

Award Of Attorneys' Fees And Expenses And For Class Representative Service Awards, at 18,

Sept. 10, 2019 (ECF 669). In reality, the lost resale value that Plaintiffs’ own expert valued at

nearly $10,000 per truck – and other experts have estimated at approximately $23,000-$34,000

per truck – has inexplicably been excluded from all compensation options in the Settlement.


               1.      The Cash Option Is Inadequate and Not Even Intended to
                       Compensate for Lost Resale Value Damages

       The Cash Option, capped at $2,500 per truck, offers an average payment of $32 per

month of ownership or lease of a Class Vehicle. Settlement Agmt. at 18. A class member who,

for example, owned a Class Vehicle for 5 years, would receive $1,920 under this option – a mere

20% of Plaintiffs’ own estimated per truck lost resale value, not including additional damages

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incurred as a result of breakdowns and repairs. The Cash Option is even more paltry for indirect

lessee class members, who must share half of the Cash Option compensation with their lessor

irrespective of lease terms. Id. at 20. So, for example, an indirect lessee who leased a Class

Vehicle for 5 years would receive only $960 regardless of their lost resale value damages.

       Not surprisingly, Plaintiffs concede that the Cash Option is not meant to compensate for

lost resale value. Plaintiffs instead characterize the option as “fixed damages based on benefit-

of-the-bargain.” See Plts’ Supp. Stmt. at 10, June 5, 2019 (ECF 641). In fact, Plaintiffs’

Complaint distinguishes such damages – i.e. “[p]ayment of a higher price at the point of

purchase or lease than would have prevailed in the market had the true nature of the Trucks been

known” – from lost resale damages in each of the damages statements cited in Section III.A

above. See, e.g., 3rd Am. Compl., at ¶¶ 21, 47. In other words, the class Complaint sought relief

for both benefit-of-the-bargain and lost resale value, yet the Cash Option compensates only for

the former.

               2.      The Rebate Option Provides In-Kind Compensation of Substantially
                       Less Value Than Cash, with Significant Restrictions That Further
                       Reduce its Adequacy

       The Rebate Option offers a discount off of new Navistar truck purchases based on the

duration of Class Vehicle ownership or lease at an average of $128 per month. Class members

who, for example, owned a Class Vehicle for 5 years would receive an average rebate of $7,680

toward the purchase of a new Navistar Class 8 heavy duty truck. Not only is this

“compensation” substantially less than Plaintiffs’ estimate of lost resale value, but it comes with

significant restrictions that further reduce its adequacy.

       First, the Rebate Option is limited to 10 rebates per class member, regardless of fleet size.

Settlement Agmt. at 18. Objectors, for example, with an average fleet size of 72 Class Vehicles,


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could select the Rebate Option for only a fraction of their claimed vehicles, the remainder of

which would be limited to the paltry Cash Option or the Prove-Up Option that expressly

excludes lost resale value damages. Second, the rebates are good for only 18 months from

receipt, which presumes that all class members can afford to refresh their fleet of heavy duty

trucks within a year and a half, at an average approximate cost of more than $100,000 for a new

Navistar Class 8 heavy duty truck. Third, the Rebate Option is only an option for those class

members who purchase trucks, inherently excluding those class members who exclusively lease

vehicles. Finally, the Rebate Option is no option at all for those class members who have no

desire to purchase further Navistar vehicles after suffering substantial losses due to Defendants’

defective engines and fraudulent concealment.

       More fundamentally, though, the Rebate Option is of substantially less value as

“compensation in kind is worth less than cash of the same nominal value.” Synfuel Techs., Inc.

v. DHL Express (USA), Inc., 463 F.3d 646, 654 (7th Cir. 2006). As the Seventh Circuit has

noted, “coupon settlements have been criticized because ‘(1) it is doubtful that they provide

meaningful compensation to most class members; (2) they often fail to disgorge ill-gotten gains

from the defendant; and (3) they may force class members to do future business with the

defendant.’” In re Sw. Airlines Voucher Litig., No. 11 C 8176, 2013 WL 4510197, at *9 (N.D.

Ill. Aug. 26, 2013), aff'd as modified, 799 F.3d 701 (7th Cir. 2015) (quoting Synfuel Techs., 463

F.3d at 653). Moreover, partial discounts on high cost goods – like $100,000 new Navistar

heavy duty trucks – may be “little more than a sales promotion…a tremendous sales bonanza”

for settling defendants, as class members may feel “beholden to use the [discount].” In re Gen.

Motors Corp., 55 F.3d at 808, 818 (overturning trial court approval of class settlement where,

“the fact that the coupon settlement benefits certain groups of the class more than others suggests



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that the district court did not adequately discharge its duties to safeguard the interests of the

absentees.”).


                3.     The Prove-Up Compensation Option Expressly Excludes Lost Resale
                       Value Damages

       The Prove-Up Option would seem to provide a fitting avenue for class members to prove

their lost resale value damages, up to $15,000, but this option is limited to damages associated

with certain failure events. Settlement Agmt. at 8-9, 19. Plaintiffs defend the exclusion of lost

resale value from the Prove-Up Option by arguing that such damages would require “convincing

a jury that Class Members’ loss of resale value was impacted by the alleged defect far more than

any issues about individual negotiating.” Mem. Supp. Plaintiffs’ Mo. for Prelim. Approval, at 14,

May 29, 2019 (ECF 632). Yet the proposed Settlement compensates failure event damages,

which would presumably require convincing a jury that the failures and associated costs were

due to the engine defect and not individual maintenance, driving, or other conditions.

       Lost resale value for Class Vehicles has been documented in the industry based on

market awareness of the engine defect, entirely independent of “individual negotiating” savvy at

resale. See, e.g., Multiple issues of Commercial Truck Guide – Industry Update, National

Automobile Dealers Association and Industry Update, Used Truck Association cited in Exhibit 5.

Lost resale value for Class Vehicles has also been recognized in direct actions against Navistar

and acknowledged by Plaintiffs and Class Counsel. Tangren Declaration at 7, see also, e.g.,

Trial Transcript, Milan Supply Chain Solutions v. Navistar, C-14-285, at 2857 (Tenn. Cir. Ct.

August 10, 2017) (awarding $8,236,109 for “diminished value” damages). Excluding lost value

damages from the Prove-Up Option is clear evidence that the proposed Settlement provides

inadequate consideration in exchange for the release of class members’ claims. Accordingly, the

proposed Settlement, as written, fails to meet the standards required for judicial approval.

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       Objectors urge the Court to require that the parties redefine the Prove-Up Option to

include documented lost resale value damages – within the $15,000 maximum recovery per truck

under this option – thereby fairly allowing class members to recoup lost resale damages while

not increasing the per truck Prove-Up compensation cap negotiated by the parties.


       B.        The Proposed Settlement Unfairly Treats Class Members Unequally,
                 Favoring Those Best Represented by Named Plaintiffs

       The proposed Settlement is also unfair as it provides lesser compensation to certain sub-

classes: large fleet owners, indirect TRAC lessees, and those who lease vehicles rather than

purchase.

       “One sign that a settlement may not be fair is that some segments of the class are treated

differently from others.” In re Gen. Motors Corp., 55 F.3d at 808; accord Piambino v. Bailey,

610 F.2d 1306, 1329 (5th Cir. 1980) (rejecting class action settlement due to “the failure to

assess the interests of the two categories of plaintiffs and whether the settlement was fair,

adequate and reasonable As [sic] to each”); True v. Am. Honda Motor Co., 749 F. Supp. 2d 1052,

1067 (C.D. Cal. 2010) (“Courts generally are wary of settlement agreements where some class

members are treated differently than others.”); 7B Fed. Prac. & Proc. Civ. § 1797.1 (3d ed. 2019)

(“Finally, the court must consider whether the proposal treats class members equitably relative to

each other.”).

       The Court is obliged to assess “whether the named plaintiffs’ interests are sufficiently

aligned with the absentees.” In re Gen. Motors Corp., 55 F.3d at 800. A fair settlement must not

subjugate the interests of one group of class members to benefit other groups. Piambino, 610

F.2d at 1330 (criticizing a settlement that placed one subgroup in a worse position than they

would have been if they hadn’t been included in the class). Differential treatment need not be

explicit: “the fact that the coupon settlement benefits certain groups of the class more than others

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suggests that the district court did not adequately discharge its duties to safeguard the interests of

the absentees.” In re Gen. Motors Corp., 55 F.3d at 808. When a settlement “arguably affords

the least relief to those class members with the most valuable claims,” it does not “treat all

members of the class equitably.” Id. at 818.

          In two of the three compensation options, different groups of class members are afforded

unequal compensation. The Cash Option, as noted above, doubly punishes indirect TRAC

lessees by failing to compensate for any lost resale value and restricting them to 50%

compensation, despite bearing 100% of the damages from lost resale value; in turn, it provides a

windfall to indirect TRAC lessors who bear no loss at resale yet receive 50% of the Cash Option

compensation under the current settlement terms. The Rebate Option prevents large fleet owners

– those with more than 10 Class Vehicles – from obtaining rebates for all of their affected

vehicles and is no option for class members who lease vehicles.

          In both cases, Named Plaintiffs disproportionately populate the groups that receive

greater compensation under these options – Named Plaintiffs are overwhelmingly purchasers, not

lessees, and own far fewer trucks than absent class members like Objectors. Only 2 of 31

Named Plaintiffs leased Class Vehicles, and 87% of Named Plaintiffs owned 10 or fewer Class

Vehicles (3rd Am. Compl., at ¶¶ 223)). Class Counsel may have failed to appreciate the disparate

treatment of absent large fleet owners and lessees, particularly indirect TRAC lessees, but the

Court as the fiduciary for all class members must address this disparity and should not approve

the differential treatment that would result from the proposed settlement. See Reynolds, 288 F.3d

at 279.




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IV.    CONCLUSION

       For the foregoing reasons, Objectors object to the proposed Settlement and respectfully

request that the Court instruct the parties to include lost resale value as a Covered Cost under the

Prove-up Option for compensation. Without the inclusion of lost resale value, class members

must surrender their most valuable claims for relief without any corresponding compensation,

while unfairly further under-compensating different groups within the class not well represented

by Named Plaintiffs. Accordingly, the Settlement as currently written is fundamentally

inadequate, unreasonable, and unfair.




                                              Respectfully submitted,

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                       Exhibit 1
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       Pursuant to the Court’s Pretrial Order No. 29, Ferguson Enterprises, LLC, The Walt

Disney Company, Southern California Edison Co., and US Foods, Inc. (“Objectors”) provide the

following company contact information:


Ferguson Enterprises, LLC
12500 Jefferson Ave
Newport News, VA 23602
(757) 874-7795

The Walt Disney Company
500 S. Buena Vista St.
Burbank, CA 91521
(818) 560-1000

Southern California Edison Co.
2244 Walnut Grove Avenue
Rosemead, CA 91770
(626) 302-1212

US Foods, Inc.
9399 W. Higgins Road
Suite 100
Rosemont, IL 60018
(847) 720-8000
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                       Exhibit 2
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       Pursuant to the Court’s Pretrial Order No. 29, Objectors provide the following schedules

of Class Vehicles owned or leased by each company:


                                Ferguson Enterprises LLC



        VIN           Owned or Leased    Model Year          Make                 Model
1HSHXSH5RDJ329071        TRAC Leased     2013          INTERNATIONAL      8000
1HSHXSHR7BJ421599        TRAC Leased     2011          INTERNATIONAL      8000
1HSHXSJR2BJ401285        TRAC Leased     2011          INTERNATIONAL      8000
1HTGSSHR0BJ389231        TRAC Leased     2011          INTERNATIONAL      7000
1HSHXSJR8BJ367157        TRAC Leased     2011          INTERNATIONAL      8600
1HSHXSJR9BJ420612        TRAC Leased     2011          INTERNATIONAL      8600
1HSHXSJR5BJ383378        TRAC Leased     2011          INTERNATIONAL      8600
1HSHXSJR6BJ367156        TRAC Leased     2011          INTERNATIONAL      8600
1HSHXSJR9CJ536149        TRAC Leased     2012          INTERNATIONAL      8600 TranStar
1HSHXSJR5CJ536150        TRAC Leased     2012          INTERNATIONAL      8600 TranStar
1HSHXSJR7CJ536148        TRAC Leased     2012          INTERNATIONAL      8600 TranStar
1HTGSSHR9BJ383878        TRAC Leased     2011          INTERNATIONAL      7600
1HTGSSHR7BJ440353        TRAC Leased     2011          INTERNATIONAL      7600
1HSHXSJR3BJ450611        TRAC Leased     2011          INTERNATIONAL      8600
1HSDJSJR1BJ421656        TRAC Leased     2011          INTERNATIONAL      Prostar
1HSHXSJRXCJ536144        TRAC Leased     2012          INTERNATIONAL      8600 TranStar
1HSHXSJR4BJ450620        TRAC Leased     2011          INTERNATIONAL      8600
1HTGSSHRXCJ599241        TRAC Leased     2012          INTERNATIONAL      7600 WorkStar
1HSHXSHR9CJ558593        TRAC Leased     2012          INTERNATIONAL      8600 ProStar
1HTGSSHR6CJ603446        TRAC Leased     2012          INTERNATIONAL      7600 WorkStar
1HTGSSHT5CJ647725        TRAC Leased     2012          INTERNATIONAL      7600 WorkStar
1HSHXSHR0CJ044194        TRAC Leased     2012          INTERNATIONAL      8600 ProStar
1HSHXSHR5CJ699418        TRAC Leased     2012          INTERNATIONAL      8600 ProStar
1HSHXSHR5CJ044191        TRAC Leased     2012          INTERNATIONAL      8600 ProStar
1HSHWSJN7CJ616839        TRAC Leased     2012          INTERNATIONAL      8600 TranStar
1HSDJSJR3CJ089088        TRAC Leased     2012          INTERNATIONAL      8600 ProStar
1HTGSSHR1CJ044193        TRAC Leased     2012          INTERNATIONAL      7600 WorkStar
1HSHXSHR4CJ094113        TRAC Leased     2012          INTERNATIONAL      8600 ProStar
1HTGSSHR0CJ049773        TRAC Leased     2012          INTERNATIONAL      7600 WorkStar
1HSHXSHR6DH196957        TRAC Leased     2013          INTERNATIONAL      8600 TranStar
1HSHXSHR6DH196960        TRAC Leased     2013          INTERNATIONAL      8600 TranStar
1HSHXSHR8DH196958        TRAC Leased     2013          INTERNATIONAL      8600 TranStar
1HSHXSHR8DH196961        TRAC Leased     2013          INTERNATIONAL      8600 TranStar
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                            Ferguson Enterprises LLC



       VIN          Owned or Leased   Model Year       Make               Model
1HSHXSHRXDH196959     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HTGSSHR1DJ187646     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
1HSHXSJR8CJ118939     TRAC Leased     2012         INTERNATIONAL   8600 TranStar
1HTGSSHR3DJ160576     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
1HTGSSHR9DJ238195     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
1HSHXSJR0DH286101     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSJR9DH286100     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSJR0CJ118935     TRAC Leased     2012         INTERNATIONAL   8600 TranStar
1HSDJSJR0DJ302189     TRAC Leased     2013         INTERNATIONAL   8600 ProStar
1HSHXSHR1DH300075     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HTGSSJT7CJ662964     TRAC Leased     2012         INTERNATIONAL   7600 WorkStar
1HSHXSHR9DJ339781     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HTGSSHR8DJ307846     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
1HTGSSHRXDJ307847     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
1HSHXSHR1DJ332386     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR5DJ329071     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR0DJ339782     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR3DJ331935     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR6DJ329693     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR4DJ329692     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR4DJ332396     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR6DH414993     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR9DJ455515     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR0DJ431488     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR0DJ365136     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSHR6DJ432452     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HTGSSHRXDJ455514     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
1HSHXSHR8DJ432453     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HSHXSJR4EH781984     TRAC Leased     2014         INTERNATIONAL   8600 ProStar
1HSHXSJR6EH034824     TRAC Leased     2014         INTERNATIONAL   8600 ProStar
1HSHXSJR6EH781985     TRAC Leased     2014         INTERNATIONAL   8600 ProStar
1HTGSSHR8BJ389235     TRAC Leased     2011         INTERNATIONAL   7600
1HTGSSHT5BJ399555     TRAC Leased     2011         INTERNATIONAL   7600
1HTGSSHR5BJ445289     TRAC Leased     2011         INTERNATIONAL   7600
1HTGSSHR6BJ421602     TRAC Leased     2011         INTERNATIONAL   7600
1HTGSSHR9CJ551455     TRAC Leased     2012         INTERNATIONAL   7600 WorkStar
1HTGSSHT3DJ198319     TRAC Leased     2013         INTERNATIONAL   7600 WorkStar
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                            Ferguson Enterprises LLC



       VIN          Owned or Leased   Model Year       Make               Model
1HSHXSHR6DJ332397     TRAC Leased     2013         INTERNATIONAL   8600 TranStar
1HTGSSJR3EJ756931     TRAC Leased     2014         INTERNATIONAL   7600 WorkStar
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                            The Walt Disney Company



       VIN          Owned or Leased   Model Year         Make            Model
1HSHWSJN3DJ294069   Owned             2013         International   8600
1HSHWSJN2DJ332147   Owned             2013         International   8600
1HSHWSJN4DJ332148   Owned             2013         International   8600
1HSHWSJN6DJ332149   Owned             2013         International   8600
1HSHXSJR0DJ332146   Owned             2013         International   8600
1HSHWSJN0EH015900   Owned             2013         International   8600
1HSHWSJN8EH015899   Owned             2014         International   8600
1HSHWSJN1EH001200   Owned             2014         International   8600
1HSHWSJN7DJ332709   Owned             2013         International   8600
1HSHWSJN9EH015894   Owned             2014         International   8600
1HSHWSJN3EH001201   Owned             2014         International   8600
1HSHXSJR7EH015893   Owned             2014         International   8600
1HSHWSJN0EH015895   Owned             2014         International   8600
1HSHWSJN5EH001202   Owned             2014         International   8600
1HSHWSJN6DJ160978   Owned             2012         International   TRACTOR
1HSHWSJN1DJ294068   Owned             2013         International   TRACTOR
1HSHWSJN8DJ296965   Owned             2013         International   TRACTOR
1HSHWSJN0DJ160975   Owned             2012         International   TRACTOR
1HSHWSJNXDJ295395   Owned             2013         International   TRACTOR
1HSHWSJNXDJ294070   Owned             2013         International   TRACTOR
1HSHWSJN4DJ160977   Owned             2012         International   TRACTOR
1HSHXSJR7DJ160973   Owned             2012         International   TRACTOR
1HSHXSJR3DJ160971   Owned             2012         International   TRACTOR
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                          Southern California Edison Co.



       VIN          Owned or Leased   Model Year         Make             Model
1HTGSSJT9BJ420966   TRAC Leased       2011         International   7600
1HTGSSHT3DJ222814   TRAC Leased       2013         International   7600
1HTGSSHT9DJ222798   TRAC Leased       2013         International   7600
1HTGSSJT9CJ421651   TRAC Leased       2012         International   7600
1HTGSSJT2BJ420968   TRAC Leased       2011         International   7600
1HTGSSJT2BJ420971   TRAC Leased       2011         International   7600
1HTGSSJT0BJ420967   TRAC Leased       2011         International   7600
1HTGSSJT9CJ421648   TRAC Leased       2012         International   7600
1HTGSSJT7BJ420965   TRAC Leased       2011         International   7600
1HTGSSJT6BJ328052   TRAC Leased       2011         International   7600
1HTGSSJT4BJ328051   TRAC Leased       2011         International   7600
1HTRZSJT3BJ382221   TRAC Leased       2011         International   7600
1HTRZSJT7BJ382223   TRAC Leased       2011         International   7600
1HTRZSJT1BJ382217   TRAC Leased       2011         International   7600
1HTRZSJTXBJ382216   TRAC Leased       2011         International   7600
1HTRZSJT4BJ382213   TRAC Leased       2011         International   7600
1HTRZSJT5BJ382219   TRAC Leased       2011         International   7600
1HTRZSJT0BJ382211   TRAC Leased       2011         International   7600
1HTRZSJT8BJ382215   TRAC Leased       2011         International   7600
1HTRZSJT3BJ382218   TRAC Leased       2011         International   7600
1HTRZSJT1BJ382220   TRAC Leased       2011         International   7600
1HTRZSJT6BJ382214   TRAC Leased       2011         International   7600
1HTRZSJT5BJ382222   TRAC Leased       2011         International   7600
1HTRZSJT2BJ382212   TRAC Leased       2011         International   7600
1HTRZSJT9BJ382224   TRAC Leased       2011         International   7600
1HTGSSJT9CJ606508   TRAC Leased       2012         International   7600
1HTGSSHT6CJ377856   TRAC Leased       2012         International   7600
1HTGSSHT5CJ078679   TRAC Leased       2012         International   7600
1HTGSSHT1CJ078680   TRAC Leased       2012         International   7600
1HTGSSJT4CJ421654   TRAC Leased       2012         International   7600
1HTGSSJT8CJ421642   TRAC Leased       2012         International   7600
1HTGSSJT2CJ421653   TRAC Leased       2012         International   7600
1HTGSSJT0CJ421649   TRAC Leased       2012         International   7600
1HTGSSJT7CJ421650   TRAC Leased       2012         International   7600
1HTGSSJT7CJ421647   TRAC Leased       2012         International   7600
1HTGSSJT3CJ421645   TRAC Leased       2012         International   7600
1HTGSSJT5CJ421646   TRAC Leased       2012         International   7600
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                          Southern California Edison Co.



       VIN          Owned or Leased   Model Year         Make             Model
1HTGSSJT0CJ421652   TRAC Leased       2012         International   7600
1HTGSSJT6CJ421655   TRAC Leased       2012         International   7600
1HTGSSJT5EJ754268   TRAC Leased       2014         International   7600
1HTGSSJT7EJ754269   TRAC Leased       2014         International   7600
1HTGSSJT3EJ754270   TRAC Leased       2014         International   7600
1HTGSSJT7EJ754272   TRAC Leased       2014         International   7600
1HTGSSJT9EJ754273   TRAC Leased       2014         International   7600
1HTGRSJR4DJ237929   TRAC Leased       2013         International   7600
1HTRZSJT7DJ632207   TRAC Leased       2013         International   7600
1HTRZSJT5DJ632206   TRAC Leased       2013         International   7600
1HTGSSHTXDJ222809   TRAC Leased       2013         International   7600
1HTGSSHT8DJ222811   TRAC Leased       2013         International   7600
1HTGSSHT5DJ222877   TRAC Leased       2013         International   7600
1HTGSSHT8DJ222873   TRAC Leased       2013         International   7600
1HTGSSHT7DJ222878   TRAC Leased       2013         International   7600
1HTGSSHT4DJ222871   TRAC Leased       2013         International   7600
1HTGSSHT0DJ222818   TRAC Leased       2013         International   7600
1HTGSSHTXDJ222812   TRAC Leased       2013         International   7600
1HTGSSHT8DJ222808   TRAC Leased       2013         International   7600
1HTGSSHT9DJ222879   TRAC Leased       2013         International   7600
1HTGSSHT6DJ222872   TRAC Leased       2013         International   7600
1HTGSSHTXDJ222874   TRAC Leased       2013         International   7600
1HTGSSHT5DJ222801   TRAC Leased       2013         International   7600
1HTGSSHT1DJ222875   TRAC Leased       2013         International   7600
1HTGSSHT6DJ222810   TRAC Leased       2013         International   7600
1HTGSSHT0DJ222799   TRAC Leased       2013         International   7600
1HTGSSHT5DJ222815   TRAC Leased       2013         International   7600
1HTGSSHT7DJ222802   TRAC Leased       2013         International   7600
1HTGSSHT3DJ222800   TRAC Leased       2013         International   7600
1HTGSSHT5DJ222880   TRAC Leased       2013         International   7600
1HTGSSJTXCJ421643   TRAC Leased       2013         International   7600
1HTGSSHT7DJ222816   TRAC Leased       2013         International   7600
1HTGSSHT9DJ222817   TRAC Leased       2013         International   7600
1HTGSSJT5EJ754271   TRAC Leased       2013         International   7600
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                                  US Foods Inc.



       VIN          Owned or Leased   Model Year         Make             Model
1HSHXSJRXBJ327632   Owned             2011         International   8600
1HSHXSJRXBJ327629   Owned             2011         International   8600
1HSHXSJRXBJ327601   Owned             2011         International   8600
1HSHXSJRXBJ327596   Owned             2011         International   8600
1HSHXSJRXBJ327565   Owned             2011         International   8600
1HSHXSJRXBJ327534   Owned             2011         International   8600
1HSHXSJRXBJ327520   Owned             2011         International   8600
1HSHXSJRXBJ327517   Owned             2011         International   8600
1HSHXSJRXBJ327503   Owned             2011         International   8600
1HSHXSJRXBJ327498   Owned             2011         International   8600
1HSHXSJR9BJ327816   Owned             2011         International   8600
1HSHXSJR9BJ327590   Owned             2011         International   8600
1HSHXSJR9BJ327587   Owned             2011         International   8600
1HSHXSJR9BJ327542   Owned             2011         International   8600
1HSHXSJR9BJ327539   Owned             2011         International   8600
1HSHXSJR9BJ327525   Owned             2011         International   8600
1HSHXSJR9BJ327511   Owned             2011         International   8600
1HSHXSJR9BJ327508   Owned             2011         International   8600
1HSHXSJR8BJ327662   Owned             2011         International   8600
1HSHXSJR8BJ327659   Owned             2011         International   8600
1HSHXSJR8BJ327645   Owned             2011         International   8600
1HSHXSJR8BJ327631   Owned             2011         International   8600
1HSHXSJR8BJ327595   Owned             2011         International   8600
1HSHXSJR8BJ327533   Owned             2011         International   8600
1HSHXSJR8BJ327516   Owned             2011         International   8600
1HSHXSJR8BJ327502   Owned             2011         International   8600
1HSHXSJR8BJ327497   Owned             2011         International   8600
1HSHXSJR7BJ327815   Owned             2011         International   8600
1HSHXSJR7BJ327605   Owned             2011         International   8600
1HSHXSJR7BJ327586   Owned             2011         International   8600
1HSHXSJR7BJ327569   Owned             2011         International   8600
1HSHXSJR7BJ327541   Owned             2011         International   8600
1HSHXSJR7BJ327538   Owned             2011         International   8600
1HSHXSJR7BJ327524   Owned             2011         International   8600
1HSHXSJR7BJ327510   Owned             2011         International   8600
1HSHXSJR7BJ327507   Owned             2011         International   8600
1HSHXSJR6BJ327661   Owned             2011         International   8600
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                                  US Foods Inc.



       VIN          Owned or Leased   Model Year       Make               Model
1HSHXSJR6BJ327658   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327644   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327630   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327594   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327563   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327546   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327532   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327529   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327515   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327501   Owned             2011         INTERNATIONAL   8600
1HSHXSJR6BJ327496   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327604   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327571   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327568   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327540   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327537   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327523   Owned             2011         INTERNATIONAL   8600
1HSHXSJR5BJ327506   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327786   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327660   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327657   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327643   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327562   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327545   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327531   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327528   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327514   Owned             2011         INTERNATIONAL   8600
1HSHXSJR4BJ327500   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327648   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327603   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327570   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327567   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327536   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327522   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327519   Owned             2011         INTERNATIONAL   8600
1HSHXSJR3BJ327505   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327785   Owned             2011         INTERNATIONAL   8600
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                                  US Foods Inc.



       VIN          Owned or Leased   Model Year       Make              Model
1HSHXSJR2BJ327656   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327642   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327611   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327589   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327561   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327544   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327530   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327527   Owned             2011         INTERNATIONAL   8600
1HSHXSJR2BJ327513   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327602   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327597   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327566   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327535   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327521   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327518   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327504   Owned             2011         INTERNATIONAL   8600
1HSHXSJR1BJ327499   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327784   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327655   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327610   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327591   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327588   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327543   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327526   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327512   Owned             2011         INTERNATIONAL   8600
1HSHXSJR0BJ327509   Owned             2011         INTERNATIONAL   8600
1HSCUSJR6BJ365488   Leased            2011         INTERNATIONAL   PROSTAR
3HSDJSJR1CN620513   Leased            2012         INTERNATIONAL   PROSTAR
1HSHWSHN9CJ685411   Leased            2012         INTERNATIONAL   TRANSTAR 8600
1HSHWSHN9CJ621918   Leased            2012         INTERNATIONAL   TRANSTAR 8600
1HSHWSHN7CJ692437   Leased            2012         INTERNATIONAL   TRANSTAR 8600
1HSHWSHN0CJ685412   Leased            2012         INTERNATIONAL   TRANSTAR 8600
1HSHXSJR0BJ327784   Owned             2011         INTERNATIONAL   8000
1HSHXSJR1BJ327597   Owned             2011         INTERNATIONAL   8000
1HSHXSJR2BJ327589   Owned             2011         INTERNATIONAL   8000
1HSHXSJR2BJ327642   Owned             2011         INTERNATIONAL   8000
1HSHXSJR2BJ327785   Owned             2011         INTERNATIONAL   8000
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                                  US Foods Inc.



       VIN          Owned or Leased   Model Year       Make              Model
1HSHXSJR4BJ327643   Owned             2011         INTERNATIONAL   8000
1HSHXSJR4BJ327786   Owned             2011         INTERNATIONAL   8000
1HSHXSJR6BJ327594   Owned             2011         INTERNATIONAL   8000
1HSHXSJR6BJ327644   Owned             2011         INTERNATIONAL   8000
1HSHXSJR7BJ327815   Owned             2011         INTERNATIONAL   TRANSTAR 8600
1HSHXSJR8BJ327497   Owned             2011         INTERNATIONAL   8000
1HSHXSJR8BJ327595   Owned             2011         INTERNATIONAL   8000
1HSHXSJR8BJ327631   Owned             2011         INTERNATIONAL   8000
1HSHXSJR9BJ327590   Owned             2011         INTERNATIONAL   8000
1HSHXSJR9BJ327816   Owned             2011         INTERNATIONAL   8000
1HSHXSJRXBJ327596   Owned             2011         INTERNATIONAL   8000
1HSHXSJRXBJ327632   Owned             2011         INTERNATIONAL   8000
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                     Exhibit 3a
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                      Exhibit 3b
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Affidavit of Marea M. Suozzi in Support of Objection of Four Fleet Class Members to Final
    Approval of Proposed Class Action Settlement in In re Navistar MaxxForce Engines
                Marketing, Sales Practices and Products Liability Litigation


     1.      I, Marea M. Suozzi, am employed as Assistant General Counsel for The Walt Disney

             Company and offer the following Affidavit in support of the Objection of Four Fleet

Class Members to Final Approval of Proposed Class Action Settlement in In re Navistar

MaxxForce Engines Marketing, Sales Practices and Products Liability Litigation, Case No.

1:14-cv-10318 (N.D. Ill.).

       2.      I have been employed by The Walt Disney Company for 16 years. In my capacity

as Assistant General Counsel, I am authorized to act on behalf of the company.

       3.      The Walt Disney Company is a Class Member in In re Navistar MaxxForce

Engines Marketing, Sales Practices and Products Liability Litigation by virtue of its ownership

of twenty-three (23) Class Vehicles, as detailed in the vehicle schedule at Exhibit 2 to the

Objection.




I declare under penalty of perjury that the foregoing is true and correct.

                a,r#
Executed this -, / day of October, 2019, at Burbank, California




                                                      Marea M. Suozzi
                                                      Assistant General Counsel
                                                      The Walt Disney Company
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                     Exhibit 3c
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   Affidavit of Patricia A. Cirucci in Support of Obiection of Four Fleet Class Members
     to Final Approval of Proposed Class Action Settlement In re Navistar MaxxForce
            Engi11es Marketing, Sales Practices and Products Liabilitv Litigatio11


        1.      I, Patricia A. Cirucci, am employed as Director and Managing Attorney of

Commercial Litigation for Southern Consolidated Edison and offer the following Affidavit in

support of the Objection of Four Fleet Class Members to Final Approval of Proposed Class

Action Settlement In re Navistar MaxxForce Engines Marketing Sales Practices and Products

Liability Litigation.

        2.      I have been employed at Southern California Edison for       t5   years. In my

capacity as Director and Managing Attorney of Commercial Litigation, I am authorized to act on

behalf of the company.

        3.      Southern Consolidated Edison is a Class Member in In re Navistar MaxxForce

Engines Marketing Sales Practices and Products Liability Litigation by virtue of its lease of

seventy-one (71) Class Vehicles, as detailed in the vehicle schedule at Exhibit 2 to the Objection.




I declare under penalty of perjury that the foregoing is true and correct.

Executed this 8th day of October, 2019, at Rosemead, California.




                                                      Patricia A. Cirucci
                                                      Director and Managing Attorney
                                                      Commercial Litigation
                                                      Southern Consolidated Edison
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                      Exhibit 3d
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  Affidavit of Andrew Johnstone in Support of Objection of Four Fleet Class Members to
  Final Approval of Proposed Class Action Settlement In re Navistar MaxxForce Engines
                 Marketing, Sales Practices and Products Liability Litigation


       1.      I, Andrew M. Johnstone, am employed as Associate General Counsel of

Litigation, Employment, and Risk Management for US Foods, Inc. and offer the following

Affidavit in support of the Objection of Four Fleet Class Members to Final Approval of Proposed

Class Action Settlement In re Navistar MaxxForce Engines Marketing Sales Practices and

Products Liability Litigation.

       2.      I have been employed at US Foods, Inc. since July 2018. In my capacity as

Associate General Counsel of Litigation, Employment, and Risk Management, I am authorized

to act on behalf of the company.

       3.      US Foods, Inc. is a Class Member in In re Navistar MaxxForce Engines

Marketing Sales Practices and Products Liability Litigation by virtue of its ownership or lease of

one hundred and twenty-three (123) Class Vehicles, as detailed in the vehicle schedule at Exhibit

2 to the Objection.




I declare under penalty of perjury that the foregoing is true and correct.
                'IJ_
Executed this� day of October, 2019, at Rosemont, Illinois.




                                                      Andrew M. Johnstone
                                                      Associate General Counsel
                                                      Litigation, Employment, and Risk
                                                      Management
                                                      US Foods, Inc.
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                       Exhibit 4
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       Pursuant to the Court’s Pretrial Order No. 29, Objectors submit this notice that counsel

for the Objectors will appear at the Fairness Hearing currently scheduled for November 13, 2019.
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                       Exhibit 5
   Case: 1:14-cv-10318 Document #: 694 Filed: 10/10/19 Page 45 of 57 PageID #:15666




 Affidavit of Richard W. Lolmaugh in Support of Obiection of Four Fleet Class Members
 to Approval of Proposed Class Settlement In re Navistar MaxxForce Engines Marketing,
                     Sales Practices and Products Liabilitv Litigation


       1.      I, Richard W. Lolmaugh, am designated as a "Certified Senior Appraiser" by the

Equipment Appraisers Association ofNorth America of which I have been a member since 2007.

This certification is based upon verified industry experience, education, training and peer review

by a panel of senior professional equipment appraisers. As a senior equipment appraiser, I offer

the following Affidavit in support of the Objection of Four Fleet Class Members to Approval

of Proposed Class Settlement In re Navistar MaxxForce Engines Marketing Sales Practices and

Products Liability Litigation.

       2.      I have more than 40 years of experience in the heavy-duty truck industry as a

heavy truck owner and 23-years as a heavy equipment and truck inspector/appraiser, nine (9)

years of which were spent as the Used Equipment Manager for Holt of California (Caterpillar

Authorized Dealer for over 80-years). This work included inspecting and appraising equipment

for trade-in, re-build and resale. The last 14 years I have owned and operated R. W Lolmaugh

Appraisal Services on a full-time basis offering inspection, appraisal and consulting services to

owners, buyers, sellers, and financers of heavy-duty trucks and heavy equipment throughout the

United States, including Alaska as well as Canada.

       3.      As a requirement for membership in the Equipment Appraisers Association of

North America (EAANA) and as a matter of professional continuing education I have attended

hundreds of hours of appraisal-related training as well as technical and safety related training

during the course of my career.

       4.      I have reviewed extensive market valuation and sales information regarding Class

Vehicles (MY 2011-2014 International trucks equipped with MaxxForce 11- and 13-liter


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                       Exhibit 6
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 Affidavit of Ned S. Barnes in Support of the Objection of Four Fleet Class Members to
Approval of Proposed Class Settlement In re Navistar MaxxForce Engines Marketing, Sales
                        Practices and Products Liability Litigation


       1.       I, Ned S. Barnes, declare under penalty of perjury that the foregoing is true and

correct.

       2.       I am a Managing Director with the Berkeley Research Group (“BRG”), a

financial and economics consulting firm. I am a Certified Public Accountant and a Certified

Fraud Examiner, and I have over 25 years of experience as a forensic accountant.

       3.       As part of my professional practice, I regularly provide consulting services to

clients on issues related to the calculation of possible damages in commercial disputes. I have

provided expert testimony on possible damages on more than fifteen occasions in federal and

state courts, and in arbitration proceedings, including arbitral proceedings before the American

Arbitration Association and the Court of Arbitration of the International Chamber of Commerce.

       4.       In conducting asset and business valuations, I have utilized, where appropriate,

various generally accepted valuation methodologies, including techniques associated with the

income approach, the market approach, and the cost approach.

       5.       In performing my work as set forth below, I relied on my academic background,

professional training and experience as a CPA, a forensic accountant, and a valuation

professional.

       6.       I was asked to investigate the possible incremental decline in value of certain

model year 2011-2014 Class 8 Navistar MaxxForce trucks equipped with Advanced EGR diesel

engines (hereinafter “Class Vehicles”) as compared to model year 2011-2014 similarly sized

vehicles equipped with engines manufactured by other manufacturers (hereinafter “Non-

MaxxForce Vehicles”).


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       7.      To conduct this analysis, I relied on the J.D. Power Valuation Services, formerly

the National Automobile Dealers Association (“NADA”) Used Car Guide valuation database.

This database contains vehicle values collected by NADA from automotive transactions,

dealership data, and marketplace reports nationwide, as confirmed by statisticians and

economists to be sound and authentic. I understand the NADA Used Car Guide is the largest

database of its kind and is regularly relied on in the automobile industry to estimate the fair

market value of used vehicles.

       8.      I collected NADA resale values for a sample of 692 Class Vehicles and a sample

of 694 Non-MaxxForce Vehicles. See Table 1 below.

       9.      Based on these data, the average decline in value (measured as the difference

between the reported original cost and the NADA adjusted wholesale price) for Class Vehicles

was $90,264.03. By contrast, the average decline in value for Non-MaxxForce Vehicles was

$66,385.37. Accordingly, this analysis indicates that Class Vehicles experienced a decline in

value, on average, of 21.5% more than Non-MaxxForce Vehicles. See Tables 1 and 2 below.

       10.     This incremental decline in value of Class Vehicles as compared to Non-

MaxxForce Vehicles is approximately $23,878.66 per truck. See Table 2 below.

       11.     The resale values of the Class Vehicles and Non-MaxxForce Vehicles in the

analysis described above do not incorporate a mileage adjustment. A mileage adjustment is an

increase or decrease to the dollar value of a truck determined by NADA and is generated from

this database as a result of inputting a truck’s actual mileage as of the valuation date. When a

user inputs a truck’s Vehicle Identification Number (VIN) into the valuation database, it will

automatically populate certain features of the truck (model year, body type, engine type, etc.),

including an estimate of mileage. NADA will then generate a dollar value adjustment if a truck’s



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actual mileage is higher or lower than NADA’s estimated mileage. In other words, if a truck’s

actual mileage is higher than NADA’s estimated mileage, NADA will generate a downward

adjustment to decrease the value of a truck. Conversely, if a truck’s actual mileage is lower than

NADA’s estimated mileage, NADA will generate an upward adjustment to increase the value of

a truck.

           12.   I conducted a similar analysis, as described in Paragraphs 8-10 above, using

reported truck values that included this mileage adjustment and determined that the incremental

decline in value of Class Vehicles as compared to Non-MaxxForce Vehicles is approximately

$26,616.21 per truck, a difference of approximately 24.2%. These results indicate a greater

incremental decline in value of Class Vehicles than the analysis described above, which excluded

the mileage adjustment. Accordingly, excluding the mileage adjustment results in a conservative

estimate of average decline in value of Class Vehicles as compared to Non-MaxxForce Vehicles.



                                             TABLE 1




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                                      TABLE 2




Executed this 9th day of October, 2019, at Washington, DC.




                                                   _____________________________

                                                   Ned S. Barnes
                                                   Managing Director
                                                   Berkeley Research Group, LLC




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